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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI,
                               NORTHERN DIVISION


STEPHANIE KOVACH                                 )
                                                 )
         Plaintiff,                              )   Cause No. 4:21-CV-00248
                                                 )
v.                                               )
                                                 )
MFA, INCORPORATED,                               )
                                                 )
         Defendant.                              )

         MEMORANDUM IN SUPPORT OF DEFENDANT’S PARTIAL MOTION
             TO DISMISS PLAINTIFF’S FIRST AMENDED PETITION

         COMES NOW Defendant, MFA, Incorporated (“MFA” or “Defendant”), by and through

undersigned counsel, and for its Partial Motion to Dismiss Plaintiff’s First Amended Petition for

Damages (the “Petition”), states as follows:

         I.     STATEMENT OF THE CASE

         On July 23, 2020, Plaintiff, a former employee of Defendant, filed the instant action in

Missouri State Court for Audrain County, Missouri, alleging in Count I, hostile work environment

harassment in violation of the Missouri Human Rights Act, Mo.Rev.Stat. § 213.010, et seq. (2017)

(the “MHRA”), and in Count II, retaliation in violation of the MHRA. The lawsuit was then

transferred to Montgomery County, Missouri, on Plaintiff’s Motion for Change of Venue. On

October 7, 2020, Plaintiff filed a second lawsuit against Defendant in the Circuit Court of Boone

County, Missouri, which arose from the same employment relationship and termination thereof,

but which only alleged violations of the Family and Medical Leave Act, 29 U.S.C. § 2601, et seq.

(“FMLA”). Defendant removed Plaintiff’s Boone County lawsuit to the United States District

Court for the Western District of Missouri, and filed a motion to dismiss on the grounds that



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Plaintiff had impermissibly split her claims in violation of Missouri law. The District Court

granted Defendant’s motion, finding that Plaintiff had impermissibly split her claims.

       On January 4, 2021, Plaintiff moved to file her first Amended Petition in the Circuit Court

for Montgomery County, Missouri. Plaintiff’s Amended Petition retained her allegations that

Defendant had violated the MHRA, and added allegations that Defendant had retaliated against

her for exercising her rights under the FMLA, and interfered with her exercise of rights under the

FMLA. The Montgomery County Court granted Plaintiff’s unopposed motion to file her Amended

Petition on February 25, 2021, and Plaintiff’s First Amended Petition was filed on that date.

Because Plaintiff’s FMLA claims are federal claims, over which this Court has original

jurisdiction, Defendant subsequently removed this matter to this Court.

       Defendant now seeks to dismiss Plaintiff’s MHRA claims as to allegations of conduct prior

to April 12, 2019. Plaintiff failed to exhaust her administrative remedies for those claims through

the filing of a timely charge of discrimination, as required by the MHRA. Accordingly, under the

express requirements of the MHRA, Plaintiff’s failure to exhaust her remedies as to allegations

prior to April 12, 2019, offers Defendant a “complete defense” to those claims, and as a result all

should be dismissed.

       II.     APPLICABLE LAW

       Defendant moves for dismissal for failure to state a claim upon which relief can be granted

pursuant to Rule 12(b)(6). The purpose of a 12(b)(6) motion to dismiss is to test the legal

sufficiency of a complaint so as to eliminate those actions which are fatally flawed in their legal

premises and designed to fail, thereby sparing litigants the burden of unnecessary pretrial and trial

activity. St. Louis-Kansas City Carpenters Regional Council v. Pace Construction, LLC, 2019

WL 4451251 (E.D. Mo. 2019). “When a plaintiff’s own allegations fail to state a claim, ‘this basic



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deficiency should . . . be exposed at the point of minimum expenditure of time and money by the

parties and the court.” Id. citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 558 (2007).

         III.        ARGUMENT

                A.     All Allegations in Plaintiff’s First Amended Petition Alleged to Have
                       Occurred Prior to April 12, 2019, Should be Dismissed for Plaintiff’s
                       Failure to Timely Exhaust her Administrative Remedies

         Plaintiff has alleged that Defendant discriminated against her on the basis of her sex and

retaliated against her in violation of the Missouri Human Rights Act (“MHRA”), Mo.Rev.Stat. §

213.010, et seq. (2017). (See, Plaintiff’s Petition). Pursuant to the MHRA, a Plaintiff must first

exhaust administrative remedies by filing a charge of discrimination within one hundred eighty

(180) days of the last act of discrimination, prior to filing an action under that statute. See,

Mo.Rev.Stat. § 213.075.1 (2017). Compliance with the 180 day time limit set forth in the MHRA

is a condition precedent to the maintenance of any civil action alleging violation of the MHRA,

and failure to comply therewith is a “complete defense” to any action thereunder, which may be

raised by Defendant at any time. Mo.Rev.Stat. § 213.075.1. Discrete acts of discrimination

occurring more than one hundred eight (180) days prior to the filing of a Charge of discrimination

are not actionable under the MHRA, and, if alleged in a lawsuit, may be dismissed for failing to

exhaust administrative remedies by filing a timely charge. Mo.Rev.Stat. § 213.075.1; Reed v.

McDonald’s Corp., 363 S.W.3d 134, 143 (Mo.App. 2012); see also Mooneyhan v.

Telecommunications Management, LLC, 2016 WL 6070149 (E.D. Mo. October 17, 2016)

(dismissing MHRA claims not exhausted by filing of timely charge of discrimination).

         Here, Plaintiff filed her Charge of Discrimination on October 9, 2019.1 (Exhibit A,


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  Note that while Plaintiff referenced her Charge of Discrimination in her Petition, she did not attach a copy of that
Charge as an Exhibit. Federal courts, including the 8th Circuit Court of Appeals, have frequently held where a plaintiff
fails to attach their charge of discrimination to their complaint, a defendant’s attachment of that charge to its motion
to dismiss does not convert that motion to a motion for summary judgment. See, e.g., Faibisch v. University of

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Attached). Plaintiff has therefore exhausted only such allegations of discrimination and retaliation

as were set forth in her Charge of Discrimination and which occurred after April 12, 2019.

However, Plaintiff attempts to state a claim for all allegations set forth in her Petition, including

for discrete allegations of discrimination and retaliation which occurred prior to April 12, 2019,

and were therefore not exhausted by the filing of her Charge of Discrimination. (Petition, at ¶¶

46-48, 54-63). Plaintiff purports to state a claim for “Sexual Harassment and Hostile Work

Environment” under Count I for discrete acts of discrimination alleged to have occurred prior to

April 12, 2019, by incorporating and restating all prior allegations from the Petition into Count I

and alleging that those actions constituted illegal hostile work environment harassment for which

she seeks recovery in the form of damages. (Petition, at ¶¶ 46-53). In Count II of the Petition, for

Retaliation, Plaintiff expressly seeks to recover for a list of retaliatory conduct alleged to have

occurred long before April 12, 2019. (Petition, at ¶¶ 54-67). The only retaliation alleged to have

occurred after that date is Plaintiff’s termination. (Petition, at ¶ 55).

         Plaintiff’s Petition recites many allegations which were alleged to have occurred outside

the one hundred eighty (180) day period prior to the filing of her Charge, prior to April 12, 2019.2

(See, Petition). For many other allegations in the Petition, neither exact nor approximate dates are

identified, though many of those allegations are referenced in relation to events dated very early

in her employment, years before April 12, 2019.                  For instance, Plaintiff alleges that she was

sexually assaulted at work in 2016, and that she subsequently reported the alleged assault to MFA’s

management. Most of the allegations in Plaintiff’s Petition concern a narrative related to that


Minnesota, 304 F.3d 797 (8th Cir. 2002); Becton v. St. Louis Public Regional Public Media, Inc., No. 4:16–CV–1419
CAS, 2017 WL 769900 (E.D. Mo. Feb. 28, 2017).
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  A number of allegations are expressly described as having occurred outside the relevant period, including an assault
in 2016. Plaintiff also alleges a number of events to have occurred under Plaintiff’s prior supervisor, or shortly after
her transfer to a new supervisor, and therefore long before April 12, 2019. It is believed that a number of other acts
described in the Complaint will be found to be based upon [entirely nondiscriminatory] events, which occurred prior
to April 12, 2019, and are therefore untimely due to lack of exhaustion.

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alleged assault, its reporting, and the actions of MFA managers and employees related to that

reporting. (Petition, at ¶¶ 8-39). According to the Petition, that all occurred long before April 12,

2019. In fact, Plaintiff alleges that MFA had received her complaint, investigated, and informed

her that it would not be taking any action based upon that complaint by January of 2019, well

before the exhaustion period began. (Petition, at ¶¶ 36-39). None of these allegations were

exhausted by the filing of a timely charge of discrimination, and, accordingly, all should be

dismissed.

       Despite the fact that Plaintiff has failed to administratively exhaust these claims, she still

seeks to recover for them. In Count I of the Petition, Plaintiff seeks to recover for all allegations

of harassment which were previously raised therein, the vast majority of which were not

administratively exhausted. In Count II, Plaintiff expressly seeks to recover for several specific

acts alleged to have occurred long before April 12, 2019. In fact, each specific act of retaliation

alleged in Count II of Plaintiff’s Petition occurred before that date, none of which was therefore

exhausted. (Petition, at ¶¶ 55-67). The only allegations set forth in Plaintiff’s Petition which have

been administratively exhausted by the filing of Plaintiff’s charge, are those relating to her

termination. Plaintiff was terminated on August 27, 2019, and therefore within the applicable

window for administrative exhaustion.

       Because Plaintiff has failed to file a timely Charge of discrimination for any alleged act of

discrimination or retaliation prior to April 12, 2019, she has failed to exhaust her administrative

remedies for those claims. Accordingly, all claims of discriminatory or retaliatory conduct alleged

to have occurred prior to April 12, 2019, should be dismissed for failure to state a claim for which

relief may be granted. Mo.Rev.Stat. § 213.075 (2017); Reed, 363 S.W.3d 134.




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                 B.     Continuing Violation Theory Inapplicable

          It is also clear that Plaintiff cannot prevail on her claims under a continuing violation

theory.     Missouri and federal Courts recognize a limited exception to the requirement of

administrative exhaustion for continuing violations of hostile work environment.             Under a

continuing violation theory, a plaintiff may state a claim for which relief may be granted even for

untimely incidents of harassment if they form a part of a continuing violation together with some

timely act(s) of harassment. See, e.g., Tisch v. DST Sys., Inc., 368 S.W.3d 245, 254 (Mo.App.

2012) (citing to Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101 (2002)). “A continuing

violation is established when the plaintiff shows ‘a series of closely-related, similar events that

occurred within the same general time period and stemmed from the same source’ that ‘continued

into the limitations period.’” Id. at 254 (citing Pollack v. Wetterau Food Distribution Group, 11

S.W.3d 754 (Mo.App. E.D. 1999)). As stated by the U.S. Supreme Court in Morgan, discrete acts

of discrimination are “easy to identify,” and as a result, “each incident of discrimination and each

retaliatory adverse employment decision constitutes a separate actionable unlawful employment

practice.” 536 U.S. at 113. “[D]iscrete acts that fall within the statutory time period do not make

timely acts that fall outside the time period.” Id., at 112.

          Plaintiff has not expressly alleged that the otherwise untimely and unexhausted claims are

a part of a continuing violation, though she does discuss a “continuing pattern of unwelcome

harassment,” without alleging that any part of that alleged pattern extended into the period after

April 12, 2019. Additionally, the allegations set forth in Plaintiff’s Petition are not of a type to

constitute a continuing violation because they are not a series of similar events which occurred

within the same general time period and which continued into the limitations period. Instead,

Plaintiff’s Petition sets forth allegations of discriminatory conduct, all of which are alleged to have



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happened in and around 2016, and none of which is alleged to have continued into the limitations

period. The only allegation set forth in Plaintiff’s Petition which is alleged to have occurred after

April 12, 2019, and therefore to have been administratively exhausted by the filing of Plaintiff’s

Charge of Discrimination, is her termination. Plaintiff does not allege that her termination was a

part of the same pattern as the earlier harassment, but rather states that she was “seen as a problem”

for having previously reported and/or opposed alleged “sexual assault and harassment.” (Petition,

at ¶ 41). Plaintiff’s allegations of earlier sexual assault and harassment are not “closely-related,”

nor are they similar to, Plaintiff’s allegation of termination. They also are not from the same

“general time period,” but rather are alleged to have occurred years apart.

       Plaintiff alleges she was the victim of a sexual assault in 2016, and a series of harassment

that allegedly occurred around the time of that assault. Plaintiff then alleges she was terminated

long after those events. As discussed above, the only allegations which were exhausted through

the filing of a timely charge of discrimination are those surrounding her termination. While

termination is plainly a discrete act of discrimination and not a part of a continued pattern of

harassment along with the earlier allegations, Plaintiff further distinguishes her termination from

the much earlier allegations of assault, harassment, reassignment, and differential leave practices

by alleging that her termination was discriminatory in that she was treated differently from male

employees who engaged in the same conduct, and/or was in retaliation for having reported the

harassment, in and before “early 2018.” (Petition, at ¶¶ 29, 41-42).

       For this reason Plaintiff’s earlier, untimely allegations do not establish a continuing

violation together with her termination which would allow her to state a claim for which relief may

be granted as to those earlier allegations. Accordingly, Plaintiff has failed to administratively

exhaust all claims alleged to have occurred prior to April 12, 2019, and those claims should be



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dismissed.


       WHEREFORE, Defendant moves this court to dismiss with prejudice, for failure to a state

claim, in all Counts of Plaintiff’s Petition, all claims having occurred or alleged to have occurred,

prior to April 12, 2019, and for such other relief as may be appropriate.


                                                      Respectfully submitted,

                                                      McMAHON BERGER, P.C.


                                                       /s/Robert D. Younger
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                                 CERTIFICATE OF SERVICE

       I certify that on this 26th day of February, 2021, I electronically filed the foregoing with the
Clerk of the United States District Court for the Eastern District of Missouri by using the CM/ECF
system and that a copy of the foregoing was served via first class mail, postage prepaid, upon the
following:

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